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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                       Chapter 11

    BOY SCOUTS OF AMERICA AND                                    Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,
                                                                 (Jointly Administered)
                              Debtors.1
                                                                 Re: Docket Nos. 7447 and 7467


                                                         Requested Objection Deadline: 12/13/21 @ 12:00 p.m. ET
                                                                 Requested Hearing Date: 12/14/21 @ 10 a.m. ET

      MODIFIED EMERGENCY MOTION OF THE OFFICIAL COMMITTEE OF TORT
                 CLAIMANTS REGARDING PLAN VOTING ISSUES

             The Official Committee of Tort Claimants (the “TCC”), by and through its undersigned

counsel, hereby modifies the above-styled Emergency Motion of the Official Committee of Tort

Claimants for Entry of an Order Pursuant to Sections 105, 1103, 1125, and 1126 of the

Bankruptcy Code, Appointing a Plan Voting Ombudsperson and Granting Related Relief (the

“Emergency Motion”) [Dkt. No. 7447], and in support thereof states as follows:

                                                      I.
                                                INTRODUCTION

A.           The Emergency Motion and the Need for Modified Relief

                    1.       As a statutory committee, the TCC “may raise…and be heard on any issue

in a case under this chapter.” 11 U.S.C. §1109(b). Moreover, the TCC is required to “solicit and

receive comments from the creditors [in its constituency]” and may investigate matters relevant

to the case or the formulation of a plan; participate in the formulation of a plan; advise its



1
    The Debtors in these Chapter 11 Cases, together with the last four digits of Debtors’ federal tax identification
    number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
    address is 1325 West Walnut Hill Lane, Irving, Texas 75038.


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constituents of its determinations regarding a plan; collect and file plan acceptances or rejections;

and perform such other services as are in the interest of its constituents. See 11 U.S.C.

§1103(c)(2), (3) and (5).

                   2.        On November 24, 2021, the TCC filed the Emergency Motion, seeking the

appointment of an independent ombudsperson as a resource and problem-solver for survivor

questions and concerns that have arisen and may arise in the future in connection with voting on

the Debtors’ Plan and for related relief. At the heart of the Emergency Motion was the TCC’s

request that an ombudsperson be empowered to help survivor claimants represented by three law

firms affiliated under the Abuse in Scouting (“AIS”) banner that have espoused diametrically

opposing views on whether to support or reject the Plan,2 and directed conflicting and

uncoordinated recommendations to their approximately 17,000 survivor clients, accounting for

nearly 20% of the survivor voting population. The resulting confusion on the part of their jointly

represented clients is palpable, as evidenced by numerous letters filed on the docket complaining

of rampant confusion and similar client emails produced by one of the three AIS firms, Kosnoff

Law, PLLC (“Kosnoff Law”), in support of the Emergency Motion. See Kosnoff Law Response

in Support of Motion to Appoint a Plan Voting Ombudsperson (the “Kosnoff Response”), Dkt.

No. 7461, Exh. A.3

                   3.        Further evidence of the dysfunction among the three AIS law firms and

the resulting confusion among their jointly-represented clients is found in the Kosnoff Response.

In its response, Kosnoff Law confirmed the depth of the problem the TCC had sought to remedy

via the Emergency Motion, acknowledging that “crippling discord” had overtaken the AIS firms


2
    Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Emergency Motion.
3
    Additional evidence of survivor frustration continues to accrue. For example, on December 1, 2021, yet another
    letter was added to the case docket reflecting, in this instance, an AVA client complaining about not receiving a
    ballot or any response from counsel for a month with respect to his inquiry. See Dkt. No. 7557.

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and that the “present state of affairs is unacceptable” on account of the AIS firms’ differing

views of the Plan and public efforts to compel opposing outcomes. See id. ¶¶ 1, 16; see also Dkt.

Nos. 7437, 7439 and 7443. The Kosnoff Response underscores the severity of the problem the

warring AIS law firms created for themselves and their survivor clients, leaving their clients

confused and effectively unrepresented by counsel. Moreover, there is evidence that the survivor

clients represented by the AIS law firms have been subjected to a daily barrage of unsolicited

communications from one of the other two firms, Eisenberg Rothweiler, Winkler, Eisenberg &

Jeck, P.C. (“Eisenberg Rothweiler”) urging them to accept the Plan in contravention to the

advice given by Kosnoff Law. See Kosnoff Response, Dkt. No. 7461, Exh. A (client

complaining about being “constantly bombard[ed]” with emails from Rothweiler). The situation

is untenable and requires a solution—imposed by the Court if the AIS law firms cannot correct

this problem on their own volition—which is to send a joint communication to their clients

advising them of their respective views on the Plan in a manner that will enable them to make an

informed decision as to how to vote on the Plan.4

                   4.        On November 29, 2021, the Court held a status conference with respect to

the Emergency Motion. At the conference, the TCC’s counsel advised the Court that the

hostility towards the concept of appointing a voting ombudsperson to address the AIS-related

and other problems affecting voting led the TCC to modify its request for relief. In accordance

with the ensuing lengthy discussion of the voting issues at the conference, particularly those

presented by the unresolved AIS situation, the TCC is hereby modifying its request for relief to


4
    As reflected in the Kosnoff Response and discussed at the status conference on the Emergency Motion held on
    November 29, 2021, Kosnoff Law is prepared to undertake this action voluntarily while to date Eisenberg
    Rothweiler has refused. The Kosnoff Response reflects that the firm sought to engage with Eisenberg Rothweiler
    (via their respective counsel) to undertake the preparation and issuance of a joint communication to all AIS clients
    but the Eisenberg Rothweiler firm flatly refused to consider doing so. See Kosnoff Response ¶¶10-15 and Exhs.
    B and C thereto.

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focus on addressing the core problem of the conflict among the three AIS law firms and the

resulting confusion and conflicting advice imposed on their clients. Thus, the TCC no longer

seeks the appointment of a voting ombudsperson, but rather the entry of an order directing the

three AIS law firms to distribute a joint communication to each of their jointly represented

clients providing a recommendation from each of the firms with respect to whether to vote to

accept or reject the Plan to be accompanied by a neutral explanatory cover letter, in form as

shown in Exhibit B hereto, showing the need for and purpose of the communication (the “Joint

Communication”). The Joint Communication should include:

                 a.          Plain language one-page position papers and recommendations on whether

                             to vote to accept or reject the Plan issued from each AIS law firm,

                 b.          Information on how to obtain a ballot from the Balloting Agent or via the

                             AIS firms for claimants that have not previously submitted a ballot, and

                 c.          An express invitation to each AIS client to contact any or all of the AIS

                             firms for advice with respect to these matters.

                 5.          Finally, in its Emergency Motion, the TCC requested that the Court extend

the voting deadline by two weeks so that remedial actions could be taken, particularly with

respect to AIS clients confused by the conflicting advice they have been receiving. The Debtors

resisted this extension in a pleading filed on Monday, November 29, 2021; however, on

December 2, 2021, the Debtors announced that they are seeking an extension of the voting

deadline by two weeks, although apparently not on account of the problems in the voting process

identified in the Emergency Motion. Following two meet and confer sessions, the Debtors and

key parties in interest agreed to a revised confirmation schedule that will extend the voting




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deadline to December 28, 2021. At a hearing held on December 6, 2021, the Court approved this

revised confirmation schedule.

                   6.        As set forth herein, the Court has the authority to require the AIS law

firms to transmit the Joint Communication or similar client communication, as sought herein,

insofar as these attorneys are obligated to comply with the American Bar Association Model

Rules of Professional Conduct (the “Model Rules”)5, including that they clearly communicate

with their clients in a manner that does not leave them helpless and confused. Inasmuch as

Kosnoff Law is willing to do so on a voluntary basis, this problem could readily be addressed

without Court intervention if Eisenberg Rothweiler and AVA law would similarly agree to join

in a communication with their clients. Failing that happening, the only effective way to address

the confusion the attorneys’ conduct has wrought is for the Court to direct them to take

corrective action and communicate with their clients to clear up the confusion they created.

                   7.        At the status conference held on November 29, 2021, the Court raised its

concern regarding its power and authority to require the AIS firms to take this remedial action.

That authority is found in the local rules of this Court and the United States District Court for the

District of Delaware, addressed below, together with the applicable Model Rules, also addressed

herein. The AIS attorneys have appeared in the BSA bankruptcy cases and actively participated

in the cases, thereby subjecting themselves to the Court’s jurisdiction to enforce the applicable

disciplinary rules set forth in the Model Rules. The Local Rules obligate their compliance with

the Model Rules and this Court unquestionably enforce the Local Rules with respect to counsel

that has appeared before the Court in the BSA cases.




5
    On December 7, 2021, in providing a ruling on another matter involving the AIS firms, the Court confirmed that
    the Model Rules are applicable in this Court.

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                 8.          For the reasons set forth herein, the TCC respectfully submits that the

Court has the authority to require AIS attorneys to remedy the havoc and confusion their

internecine warfare is creating in the plan solicitation and voting processes by sending out the

Joint Communication, if they are unwilling to do so voluntarily.

                                                   II.
                                                ARGUMENT

A.      Source of the Court’s Authority to Regulate Counsel
        1.       Inherent Power to Regulate Counsel

                 9.          We begin with the long-established proposition that federal courts have

the inherent power to regulate the conduct of attorneys who appear before them. See Ex parte

Garland, 71 U.S. (4 Wall.) 333, 378-79 (1866); Ex parte Burr, 22 U.S. (9 Wheat.) 529, 530-31

(1824); In re Patterson, 176 F.2d 966, 967 n.1 (9th Cir. 1949); Note, Disbarment in the Federal

Courts, 85 Yale L.J. 975, 977 (1976).

                 10.         Congress codified the proposition that bankruptcy courts are vested with

“inherent powers” in section 105 of the Bankruptcy Code, including the power to control their

dockets and discipline attorneys appearing before them. 11 U.S.C. § 105; see Knupfer v.

Lindblade (In re Dyer), 322 F.3d 1178, 1196 (9th Cir. 2003) (“bankruptcy courts, like district

courts, also possess [the] inherent power” to sanction “bad faith” or “willful misconduct”

because “the very creation of the court” establishes such inherent power “unless Congress

intentionally restricts those powers,” and Congress’ intent is confirmed by section 105(a)). See

generally Chambers v. NASCO, Inc., 501 U.S. 32 (1991) (extensive discussion of federal courts’

inherent powers).




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        2.       Applicable Local District and Bankruptcy Court Rules Authorize the Court
                 to Enforce Counsel’s Obligations Under the Model Rules of Professional
                 Conduct

                 11.         The Court need not rely solely on its inherent powers and section 105(a)

of the Bankruptcy Code in this situation because the District Court of Delaware and this Court

have enacted rules that make clear the courts’ authority to exercise disciplinary jurisdiction over

attorneys appearing before the Court.

                 12.         The applicable Delaware District Court rules governing attorney discipline

are found in Article II of the Local Rules of Civil Practice and Procedure of the United States

District Court for the District of Delaware (the “Local District Court Rules”), entitled

“Attorneys.” Rule 83.5 entitled “Bar Admission” provides that persons must be admitted in

order to practice in the District Court, and they may apply for such admission either under Rule

83.5(b) based on their admission to practice in the State of Delaware or under Rule 83.5(c) for

admission pro hac vice. Notably, subsection (i) of Rule 83.6, entitled “Attorney Discipline,”

provides that “[w]henever an attorney applies to be admitted or is admitted to his Court for

purposes of a particular proceeding (pro hac vice), the attorney shall be deemed to thereby have

conferred disciplinary jurisdiction upon this Court or any alleged misconduct of that attorney

arising in the course of in the preparation for such proceeding.” D. Del. R. 836 (i).

                 13.         The Local Bankruptcy Rules provide that the Local District Court Rules

for admission of counsel to practice apply in the bankruptcy courts and that lawyers admitted pro

hac vice are bound by the Model Rules of Professional Conduct. See Del. Bankr. R. 9010(1)(a)

and (f). Local Bankruptcy Rule 9010(1)(a) provides that “[t]he Bar of this Court shall consist of

those persons heretofore admitted to practice in the District Court and those who may hereafter

be admitted in accordance with these Rules.” Id. 9010(1)(a). Local Bankruptcy Rule 9010(1)(f)

provides as follows:

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                 Standards for Professional Conduct. Subject to such modifications
                 as may be required or permitted by federal statute, court rule or
                 decision, all attorneys admitted or authorized to practice before this
                 Court, including attorneys admitted on motion or otherwise, shall
                 also be governed by the Model Rules of Professional Conduct of the
                 129 American Bar Association, as may be amended from time to
                 time.

                 14.         Thus, it is clear that attorneys who practice before this Court, even non-

Delaware lawyers admitted on a limited basis, are subject to the Court’s disciplinary jurisdiction

and held to compliance with the Model Rules. Given the AIS lawyers’ extensive, ongoing, and

impactful participation in the Debtors’ Bankruptcy Cases and the Plan process, particularly Mr.

Rothweiler as discussed below who has addressed the Court extensively in prior proceedings,

they can and should be held by this Court to the ethical rules set forth in the Model Rules.

                 15.         It is also worth noting that an apt section of the Code of Professional

Responsibility is pertinent here notwithstanding the Debtors’ effort to dismiss it. In the

Emergency Motion, the TCC cited to the Model Code of Professional Responsibility and the

Canons of Professional Ethics to support its argument that the AIS firms can and should be

directed to send the Joint Communication. See Emergency Motion, Dkt. No. 7447 at ¶6, fn. 8. In

defense of the status quo, the Debtors pointed out in their response that the American Bar

Association replaced the Code of Professional Responsibility and its predecessor, the Canons of

Professional Ethics, with the Model Rules of Professional Conduct and that the “operative

corollary” in the Rules “contemplates disagreements between lawyer and client, but contains no

provisions regarding disagreement among co-counsel or requirements for joint action.” See

Debtors’ Omnibus Objection, Dkt. No. 7467 at ¶20, fn. 50.

                 16.         When the ABA adopted the Model Rules, ABA shifted to a system of

disciplinary rules in place of disciplinary rules and aspirational ethical considerations (“ECs”)

that were in the Model Code. While the Model Rules do not contain the Model Code ethical

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considerations, EC 5-12 is still valid guidance. Under Model Rule 1.2(a), “A lawyer shall abide

by a client's decision whether to settle a matter’ and “shall consult with the client” as required by

Model Rule 1.4. Model Rule 1.4(b) states, “A lawyer shall explain a matter to the extent

reasonably necessary to permit the client to make informed decisions regarding the

representation.” In this instance, the AIS clients are the ones who decide whether to accept the

proposed settlement. The lawyers must abide by their decision. In this case the two firms

disagree on their recommendation to the clients regarding their decision; but both are required to

explain the matter to the extent necessary to allow the clients to make an informed decision and

are required to abide by that decision. EC 5-12’s guidance is consistent with the foregoing

Model Rules. EC 5-12 provides that when co-counsel cannot agree on their recommendation to

the clients, they must jointly submit their disagreement to their clients for their resolution, and

the clients’ decision controls. That guidance is valid here.

        3.       The AIS Attorneys’ Active Participation as Counsel in the BSA Chapter 11
                 Case

                 17.         The docket reflects that each of the three law firms comprising AIS filed

notices of appearance early in these cases. Eisenberg Rothweiler filed its notice of appearance

on February 2, 2021. Dkt. No. 2000. The notice of appearance was filed by the Hogan

McDaniel firm and identified Eisenberg Rothweiler as “counsel for various child sexual abuse

tort claimants and as a party-in-interest in the above captioned case . . . .” Id. It is evident that

Eisenberg Rothweiler is not an abuse claimant or otherwise a creditor of BSA; the only capacity

in which it entered its appearance is as counsel for various abuse claimants.

                 18.         Consistent with having appeared in the cases, Eisenberg Rothweiler—and

Mr. Rothweiler in particular—has taken an active role that includes Mr. Rothweiler appearing

and addressing the Court at length during the disclosure statement hearing and a more recent


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hearing held in early November. In regard to the former, on September 28, 2021, during the

continued disclosure statement hearing that, due to the COVID pandemic, was conducted via

Zoom meeting, Mr. Rothweiler raised his hand and asked to address the Court. When he was

called upon, he proceeded to deliver a soliloquy that takes up twenty-five pages in the official

transcript. Transcript of Omnibus Hearing Sept. 28, 2021 at 220-245 (during which he described

his central role in negotiating various settlements embodied in the Plan).

                 19.         In addition to appearing before this Court, Mr. Rothweiler and his firm

signed and submitted many proofs of claim on behalf of clients. And, as evidenced by

correspondence from unhappy clients, see e.g., Kosnoff Response, Ex. A., it is apparent that he

and his firm are systematically contacting the jointly represented clients of AIS to vote to accept

the Plan or, if they have rejected the Plan, to change their vote.

                 20.         Yet, despite all of these actions taken by Rothweiler and his law firm, the

TCC cannot locate a motion for admission of Mr. Rothweiler pro hac vice on the docket. Under

any fair reading of the applicable Local District Court Rule 83.5(c), given his active participation

in the cases on behalf of his thousands of clients over the past year, he should have sought and

obtained admission to practice in and appear before the Court. The TCC raises this point

because, under the local rules of this Court, had he sought admission pro hac vice as required to

practice before this Court, he would have unavoidably subjected himself to this Court’s

disciplinary powers under Rule 85.6 (i).

                 21.         The other two attorneys comprising AIS, Van Arsdale and Kosnoff, are in

a similar position, having entered their appearance but not sought admission (although there is no

indication that either has addressed the Court in live hearings as Mr. Rothweiler has). Initially,

Van Arsdale and Kosnoff filed their notice of appearance jointly through outside counsel, Wilks



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Law, LLC (“Wilks”), on September 8, 2020. Dkt. No. 1271. Although Van Arsdale and

Kosnoff identified themselves as “Interested Parties” in the notice of appearance, it cannot be

disputed that they are appearing as attorneys who represent clients in the BSA bankruptcy

estates.

                 22.         On August 13, 2021, presumably in the wake of the fallout among the

three law firms comprising AIS, a document entitled “Notice of Substitution of Counsel” was

filed at Docket No. 6001, which recited that Wilks was withdrawing as counsel for Mr. Van

Arsdale’s law firm, the “AVA Law Group, Inc.” (he had never appeared on that entity’s behalf

before, only Mr. Van Arsdale had), and a new law firm, Cross & Simon LLC, entered its

appearance on behalf of AVA. Dkt. No. 6001.

                 23.         Thus, all of the AIS lawyers have appeared in the BSA cases and, in the

case of attorneys Rothweiler and Kosnoff, have been exceptionally active and vocal advocates.

They should have sought pro hac vice admission in which case, pursuant to Local Bankruptcy

Rule 9001(f), they would be required to adhere to the standards of the Model Rules. Given their

active participation in the cases, it would defy logic to excuse them from noncompliance with

their ethical obligations in connection with matters before the Court based on their own failures

to seek admission pro hac vice as required. This Court undoubtedly has the jurisdiction to direct

them to apply for pro hac vice admission or cease further involvement in the cases, as well as the

inherent power under the circumstances to hold them to compliance with the ethical obligations

set forth in the Model Rules, which would apply had they not ignored their obligation to seek pro

hac vice admission before appearing and representing thousands of clients in these cases.




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        4.        The Model Rules of Professional Conduct Require the AIS Firms to
                  Communicate Appropriately with Their Jointly Represented Clients

                  24.        The joint representation by AIS of approximately 17,000 clients is

suffering from insufficient and inadequate communication due to the fact that the three law firms

comprising AIS no longer agree on the advice to be given to the survivors they represent.

                  25.        This problem is not addressed in the rather brief form of engagement letter

AIS used in securing client engagements. See Dkt. No. 1997, Exh. A-3 at 15. The potential

conflict of interest is not disclosed to the clients and there is no waiver language nor evidence of

client consent.

                  26.        Equally if not more problematic is that the AIS engagement letter does not

address what happens if, as occurred, the AIS firms vehemently disagree with one another with

respect to the advice to be provided to their clients on the crucial issue of whether to accept or

reject the Plan. One firm (Rothweiler) is advocating for the proposed settlement and

importuning the clients to accept while another (Kosnoff) is advocating against it. Indeed, it

could be said that their diametrically opposed positions on the plan is a manifestation of the

conflict they have by their concurrent representation of survivors.

                  27.        Unfortunately, the AIS engagement letter is silent on what happens if the

three law firms disagree with one another. There is no protocol to address this vexing problem,

and what has happened instead of clear communications with their client in a single voice, the

situation has devolved into an uncoordinated war of words between Rothweiler and Kosnoff

espousing opposite views and recommendations for voting on the Plan. The result is rampant

confusion among their clients, not to mention unwanted solicitation of their votes in one

direction or another by their competing counsel. This state of affairs is inconsistent with their




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ethical obligations to their jointly represented clients, who are owed a clear communication from

their counsel, not rampant lobbying with polar opposite recommendations.6

                   28.       While the advice from either firm alone is tainted by the concurrent

conflict of interest problem, their war with each other has prevented anything resembling clear

advice to their clients, just the opposite. The TCC submits that the massive confusion the AIS

lawyers have created among their common clients requires a remedy, and that the most

immediate and effective one would be the Joint Recommendation that presents to their clients a

balanced view of their clients’ respective interests in the proposed settlement and the choice they

will have to make when voting on the Plan. The Joint Recommendation Letter would allow their

clients to hear both positions at one time in a coordinated manner.

                   29.       Ordering Rothweiler and Kosnoff to jointly communicate their advice to

their mutual clients in a Joint Recommendation Letter is consistent with their professional

responsibilities to properly communicate with and inform their clients, as embodied in Model

Rule 1.4. Model Rule 1.4 states that lawyers shall (a) reasonably consult with their clients about

the means by which the client's objectives are to be accomplished and (b) keep their clients

reasonably informed about the status of the matter. Model Rule 1.4 (a)(2) & (3). Additionally,

Model Rule 1.4(b) states, “A lawyer shall explain a matter to the extent reasonably necessary to

permit the client to make informed decisions regarding the representation.” Id. R. 1.4 (b).

                   30.       The TCC is not seeking an order that would dictate the advice Rothweiler

and Kosnoff would provide in a Joint Recommendation Letter. The proposed order would only

direct that lawyers to communicate their advice in a clear and coordinated manner, to inform the

clients about the firms’ respective advice regarding the proposed Plan in a manner that will


6
    See Stephen C. Sieberson, Two Lawyers, One Client, and the Duty to Communicate: A Gap in Rules 1.2 and 1.4,
     11 U. New Hamp. L. Rev. 27 (2013).

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permit the clients to make an informed decision. The Joint Recommendation Letter is

reasonably necessary to resolve the untenable situation that has resulted from the two firms

communicating their advice separately.

                                                   III.
                                                 NOTICE

                 31.         Notice of this Modified Emergency Motion has been provided to (a) the

Debtors; (b) the Office of the United States Trustee; (c) counsel to the Official Committee of

Unsecured Creditors; (d) counsel to the Future Claimants’ Representative; (e) counsel to the

Coalition; (f) counsel to the Ad Hoc Committee of Local Councils; (g) counsel to Eisenberg

Rothweiler, AVA and Kosnoff Law, and (h) all parties requesting notice in the Bankruptcy Cases

pursuant to Rule 2002 of the Federal Rules of Bankruptcy Procedure. The TCC submits that no

other or further notice is necessary under the circumstances.

                                                  IV.
                                              CONCLUSION

        WHEREFORE, for the reasons set forth herein, the TCC respectfully requests that the

Court grant the relief requested herein and enter the Proposed Order, substantially in the form




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attached hereto as Exhibit A, and for such other and further relief as is just and proper under the

circumstances.

Date: December 7, 2021             PACHULSKI STANG ZIEHL & JONES LLP


                                   /s/ James E. O’Neill
                                   Richard M. Pachulski (CA Bar No. 90073) (admitted pro hac vice)
                                   Alan J. Kornfeld (CA Bar No. 130063) (admitted pro hac vice)
                                   Debra I. Grassgreen (CA 169978) (admitted pro hac vice)
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